      Case 4:19-cv-04994 Document 176 Filed on 11/19/21 in TXSD Page 1 of 3
                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                       IN THE UNITED STATES DISTRICT COURT                            November 19, 2021
                         FOR SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


 COUNTY OF HARRIS, TEXAS,

                        Plaintiff,

 v.                                                 Civil Action No. 4:19-cv-04994

 ELI LILLY AND COMPANY; NOVO
 NORDISK INC.; SANOFI-AVENTIS U.S.
 LLC; EXPRESS SCRIPTS HOLDING
 COMPANY; EXPRESS SCRIPTS, INC.;
 ESI MAIL PHARMACY SERVICES, INC.;
 EXPRESS SCRIPTS PHARMACY, INC.;
 CVS HEALTH CORPORATION;
 CAREMARK RX, L.L.C.; CAREMARK
 PCS HEALTH, L.L.C.; CAREMARK,
 L.L.C.; CAREMARK TEXAS MAIL
 PHARMACY, LLC; OPTUM, INC.;
 OPTUMRX INC.; AETNA RX HOME
 DELIVERY, LLC AND AETNA
 PHARMACY MANAGEMENT
 SERVICES, LLC,

                        Defendants.


                        AMENDED RULE 16 SCHEDULING ORDER

Anticipated Length of Trial:    28    days   Jury: X        Non-Jury:

The disposition of this case will be controlled by the following schedule:

1.     07/27/2021     NEW PARTIES shall be joined by this date. The attorney causing such

                 joinder must provide copies of this ORDER to the new parties.

2.     07/27/2021     AMENDMENTS to pleadings by Plaintiff or Counter-Plaintiff shall be
                      made by this date. Absent parties’ agreement or court approval, answers
                      may not be amended more than 20 days after this date. Answers to amended
                      claims and counterclaims are due 20 days after amended claims or
                      counterclaims are filed. Any amendments after this date must be
                      accompanied by a motion.



                                                1
     Case 4:19-cv-04994 Document 176 Filed on 11/19/21 in TXSD Page 2 of 3




3.    1/16/2023    EXPERT WITNESSES FOR PLAINTIFF/COUNTER-PLAINTIFF
                   shall be identified by a report listing the qualifications of each expert, each
                   opinion the expert will present, and the basis for each opinion.

4.    2/27/2023    EXPERT         WITNESSES         FOR        DEFENDANT/COUNTER-
                   DEFENDANT shall be identified by a report listing the qualifications of
                   each expert, each opinion the expert will present, and the basis for each
                   opinion.

5.    12/16/2022   FACT DISCOVERY must be completed by this date. Written discovery
                   requests are not timely if they are filed so close to this deadline that the
                   recipient would not be required under Federal Rules of Civil Procedure to
                   respond until after the deadline. In order to facilitate a more efficient
                   discovery process, the parties agree to the following deadlines in addition
                   to those included in the Court’s form scheduling order:

                   All expert discovery, including deposition by Plaintiff of any expert witness
                   identified by Defendants on or before 3/27/2023.

                   Plaintiff and Defendants agree that they will enter into a mutually-agreeable
                   deposition protocol, which will include, among other things, any provisions
                   regarding the coordination of this litigation with The State of Mississippi,
                   ex rel. Lynn Fitch, Attorney General v. Eli Lilly and Company, et al., 3:21-
                   cv-00674-KHJ-MTP (S.D. Miss.), In re: Direct Purchaser Insulin
                   Litigation, 3:20-cv-3426-ZNQ-LHG (D.N.J.), and City of Miami, Florida
                   v. Eli Lilly and Company, et al., 1:21-cv-22636-RNS (S.D. Fla.) to which
                   the parties are able to agree.

6.   7/28/2023     MEDIATION/ADR with parties appearing in person or by a principal, and
                   insurance companies that must be involved in settlement appearing by a
                   representative with authority to settle, to be completed by this date or the
                   parties shall file a report stating why Mediation/ADR is not appropriate.

7.   4/28/2023     DISPOSITIVE MOTIONS and ALL OTHER PRETRIAL MOTIONS
                   (including Daubert/Kumho motions, but not including other motions in
                   limine) will be filed by this date. Responses to any dispositive or other
                   pretrial motions filed on this date shall be due 5/29/2023. Replies shall be
                   due 6/29/2023. Hearing(s) on dispositive motions and Daubert motions to
                   be scheduled as necessary and permitted by the Court.

8.   10/30/2023    JOINT PRETRIAL ORDER shall be filed on or before this date. Plaintiff
                   is responsible for timely filing the complete Joint Pretrial Order in the form
                   set forth in the published Court Procedures.

9.   11/20/2023    OBJECTIONS to exhibits and/or witnesses shall be filed on or before this
                   date.




                                             2
      Case 4:19-cv-04994 Document 176 Filed on 11/19/21 in TXSD Page 3 of 3




10.   12/15/2023    DOCKET CALL is held in Courtroom 9D starting at 10:00 a.m. on this
                    date. Absent parties’ agreement or court approval, no documents filed
                    within five (5) days before the Docket Call will be considered at Docket
                    Call.

All communications concerning the case shall be directed in writing to Ruth Guerrero, Case
Manager for United States District Judge Gray H. Miller, P.O. Box 61010, Houston, Texas
77208, or cm4141@txs.uscourts.gov.



Signed: November 19, 2021                       __________________________________
                                                            Gray H. Miller
                                                      Senior United States District Judge




                                            3
